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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                Plaintiff,

        v.                                               Civil Action No. 25-0778 (LLA)

 SERGIO GOR, et al.,

                Defendants.


   DEFENDANTS’ MOTION TO STAY THE COURT’S ORDER PENDING APPEAL

       On February 24 and 26, 2025, the President exercised his lawful authority under Article II

when he removed the Board of Directors of the Inter-American Foundation (“the Foundation”)

and subsequently designated Peter Marocco as an acting Board member. On February 28, 2025,

Marocco exercised his authority as the sole member of the Board to remove Plaintiff Sara Aviel

from her position as president of the Foundation. Nonetheless, on March 17, 2025, Aviel filed this

action challenging her removal, Compl. (ECF No. 1), and immediately sought a temporary

restraining order and preliminary injunction. See ECF No. 5. On April 4, 2025, the Court granted

Aviel the preliminary injunction, reinstated Aviel as the president of the Foundation, and voided

all decisions that Marocco made on behalf of the Foundation. Mem. Op. at 1 (ECF No. 22).

       This relief constitutes an extraordinary intrusion into the President’s authority.

Accordingly, Defendants have now appealed the Court’s order and plan to seek a stay pending

appeal from the United States Court of Appeals for the D.C. Circuit. Because the Court erred in

issuing the preliminary injunction and to ensure compliance with Federal Rule of Appellate

Procedure 8(a) (“A party must ordinarily move first in the district court for . . . a stay of the

judgment or order of a district court pending appeal.”), Defendants respectfully move the Court to
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stay its preliminary injunction pending an appeal. As required under Local Rule 7(m), prior to

filing this motion, Defendants’ sought Plaintiff’s position on the relief sought in this motion.

Plaintiff opposes this motion.

        “[T]he factors regulating the issuance of a stay are . . . (1) whether the stay applicant has

made a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the other

parties interested in the proceeding; and (4) where the public interest lies.” Hilton v. Braunskill,

481 U.S. 770, 776 (1987). Here, these factors weigh in favor of a stay.

       First, defendants have a strong likelihood to succeed on the merits. The Constitution vests

the entirety of the “executive Power” in the President, who is given the sole responsibility to “take

Care that the Laws be faithfully executed.” Art. II, § 1, cl. 1; id. § 3. When no statute precludes

it, the President has the concomitant power to name acting officials when necessary to fulfill his

constitutional duties. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Robert Jackson, J. Concurring) (“congressional inertia, indifference or quiescence may

sometimes, at least as a practical matter, enable, if not invite, measures on independent presidential

responsibility”). No statute precluded President Trump from designating Marocco as an acting

Board Member. And as the sole Board Member, Marocco had the authority to remove Aviel from

her position as the Foundation president. See 22 U.S.C. § 290f(l)(1). Moreover, this Court

exceeded its equitable power in reinstating Aviel to her position as CEO. See Dellinger v. Bessent,

No. 25-5028, 2025 WL 559668, at *14 (D.C. Cir. Feb. 15, 2025) (Katsas, J., dissenting)

(explaining that de jure reinstatement “impinges on the ‘conclusive and preclusive’ power through

which the President controls the Executive Branch that he is responsible for supervising”) (quoting

Trump v. United States, 603 U.S. 593, 614 (2024)).




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       Second, the balance of equities and public interest overwhelmingly favor a stay pending

appeal. See Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that these factors merge in cases

involving the government). As explained, the preliminary injunction—which reinstalled Aviel in

an office from which she had been removed and voided the decisions of a Presidentially designated

acting Board Member—is an extraordinary act.).          The President is being prevented from

designating a Foundation Board that would be empowered to select a Foundation president

committed to implementing the President’s agenda. The President must instead retain Foundation

leadership who will exercise executive power outside the President’s supervision or control. That

sort of harm—to the Executive Branch, to the separation of powers, and to our democratic

system—is irreparable.

       Conversely, Aviel has not established that she will suffer irreparable harm if the Court’s

order is stayed pending appeal. Although Aviel’s removal deprives her of her employment and

salary, such consequences ordinarily do not amount to irreparable injury, “however severely they

may affect a particular individual.” Sampson v. Murray, 415 U.S. 61, 92 n.68 (1974). The

traditional remedy for such claims has been an award of back pay at the end of the case, not interim

reinstatement. See Dellinger v. Bessent, No. 25-5052, 2025 U.S. App. LEXIS 6914, at *10 (D.C.

Cir. Mar. 10, 2025) (per curiam). And to the extent Aviel asserts irreparable harm to the

functioning of the Foundation itself, that assertion is misplaced, because “harm that might befall

unnamed third parties does not satisfy the irreparable harm requirement in the context of

emergency injunctive relief, which must instead be connected specifically to the parties before the

Court.” State v. Musk. --- F. Supp. 3d ---, 2025 WL 520583, at *4 (D.D.C. Feb. 18, 2025) (quoting

Church v. Biden, 573 F. Supp. 3d 118, 146 (D.D.C. 2021)); see also Kansas v. United States, 124




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F.4th 529, 534 (8th Cir. 2024) (“The irreparable-harm analysis focuses on the moving party, not

the nonmoving party or some third party.”) (citation omitted).

       For these reasons, the Court should grant a stay of its preliminary injunction order pending

resolution of Defendants’ appeal.

 Dated: April 5, 2025                          Respectfully submitted,
        Washington, DC
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